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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10 NEMAN BROTHERS & ASSOC., INC.,            Case No. 2:20-cv-11181-CAS-JPRx
  11 a California Corporation,
                                               ORDER GRANTING JOINT
  12              Plaintiff,                   APPLICATION TO CONTINUE
  13                                           FILING DEADLINES
            v.
  14                                           The Hon. Christina A. Snyder
  15 INTERFOCUS, INC. d.b.a.
     www.patpat.com, a Delaware
  16 Corporation; CAN WANG, and
  17 individual, and DOES 1-10, inclusive.,
  18              Defendants.
  19 INTERFOCUS, INC. d.b.a.
     www.patpat.com, a Delaware
  20 Corporation; CAN WANG, an
  21 individual, and DOES 1-10, inclusive,
  22              Counterclaim Plaintiffs,
  23
            v.
  24
  25 NEMAN BROTHERS & ASSOC., INC.,
     a California Corporation,
  26
  27              Counterclaim Defendant.
  28
Case 2:20-cv-11181-CAS-JPR Document 95 Filed 10/12/22 Page 2 of 2 Page ID #:1712




   1        The Court having reviewed the Joint application to continue filing deadlines,
   2 and good cause appearing,
   3        IT IS ORDERED that the parties may file the supplemental briefs previously
   4 ordered by the Court as follows:
   5        1) Allowing InterFocus up to and including October 27, 2022 to file a
   6 supplemental brief herein;
   7        2) Allowing Neman Brothers up to and including November 15, 2022 to file
   8 any responsive brief herein;
   9        3) Allowing InterFocus up to and including November 30, 2022 to file any
  10 reply brief herein.
  11        4. This joint request is not interposed for purposes of delay.
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  13 Dated: October 12, 2022                 ___                          _______
                                             The Honorable Christina A. Snyder
  14
                                             United States District Judge
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